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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,

v                                                           Case No. 07-20094
                                                            HON. MARK A. GOLDSMITH
GARNER HERBERT WOOD,

            Defendant.
_______________________________/

                             ORDER STRIKING STIPULATION

       On November 14, 2012, Defendant’s counsel filed a Stipulation to Extend Time to File

Reply [Dkt. 206]. Pursuant to E.D. Mich. Local Rules Appendix ECF Rule 11(a), a proposed

stipulation and order must be submitted as a Word or WordPerfect Document via the link under

the Utilities section of CM/ECF. The stipulation at issue is not in compliance with the rule.

       IT IS ORDERED, that the stipulation [Dkt. 206] is STRICKEN.

       SO ORDERED.

Dated: November 14, 2012                             s/Mark A. Goldsmith
       Flint, Michigan                               MARK A. GOLDSMITH
                                                     United States District Judge

                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon counsel of record
and any unrepresented parties via the Court’s ECF System to their respective email or First Class
U.S. mail addresses disclosed on the Notice of Electronic Filing on November 14, 2012.

                                                     s/Amanda Chubb for Deborah J. Goltz
                                                     DEBORAH J. GOLTZ
                                                     Case Manager
